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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

     SMARTMATIC USA CORP., et al.,

                            Plaintiffs,                      No. 1:21-cv-02900-CJN
                          v.

 HERRING NETWORKS, INC., d/b/a ONE                             Judge Carl J. Nichols
    AMERICA NEWS NETWORK

                           Defendant.


 SMARTMATIC’S NON-OPPOSITION TO DEFENDANT’S MOTION FOR LETTERS
           OF REQUEST FOR PRODUCTION OF DOCUMENTS

       Plaintiffs, Smartmatic USA Corp., Smartmatic International B.V., and SGO Corp.

(collectively, “Smartmatic”) hereby respond to Defendant Herring Network’s (d/b/a “OANN”)

Motion for Letters of Request for Production of Documents (“Motion”). (Dkt. 94).

       After consideration of OANN’s Motion, Smartmatic is no longer in opposition. To be sure,

Smartmatic objects to and disagrees with the assertions OANN sets forth in its Motion, including

the assertion that its letters of request to Venezuela, Brazil, Philippines, Kenya, Oman, and

Belgium are either necessary or relevant. Smartmatic, to date, has produced documents regarding

its reputation globally, documents regarding lost opportunities as a result of the defamatory

statements, contracts and communications with foreign jurisdictions, and documents relating to an

array of topics concerning Smartmatic’s past work in Venezuela. (Dkt. 90, at pp. 20-23).

Smartmatic has also produced “communications with customers or potential customers in response

to their inquiries about government investigations involving Smartmatic.” (Joint Notice, May 5,

2023, pp. 11-12). Smartmatic maintains that internal documents and details related to those

investigations are not relevant to this matter. (Joint Notice, May 5, 2023, pp. 10-12). As such,

additional documents on those topics are not necessary.


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       Smartmatic reserves all rights and defenses and does not waive any as to OANN’s letters

of request for production of documents set forth in its Motion.


                                                     /s/ Caitlin A. Kovacs
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                                                 Corp., Smartmatic International Holding B.V.,
                                                 and SGO Corporation Limited




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 27th day of September, 2023, I electronically filed the foregoing

document with the Clerk of Court using the CM/ECF system, which I understand to have served

counsel for the parties.




                                              /s/ Caitlin A. Kovacs
                                            Caitlin A. Kovacs (admitted pro hac vice)
                                            One of the Attorneys for the Plaintiffs Smartmatic USA
                                            Corp., Smartmatic International Holding B.V.,
                                            and SGO Corporation Limited
